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CONTRACTOR AGREEMENT

THIS CONTRACTOR AGREEMENT (this “Agreement”), is made and entered into effective as
of the 8th day of May, 2019 (the “Effective Date”), by and between HD And Associates, LLC, a
Louisiana limited liability company (hereinafter referred to as “Client”), Byron Taylor , a person
of the full age of majority (hereinafter referred to as “Contractor”). Client and Contractor are
herein sometimes collectively referred to as the

“Parties” and individually as a “Party.”

WHEREAS, Contractor is in the business of installing cable wire and equipment on a customer’s
premises; and

WHEREAS, Client desires to retain the services of Contractor to provide such services for
Client’s project (the “Project”) in New Orleans, Louisiana, and any other jurisdictions that may be
added to this Agreement via a written amendment to same, and Contractor desires to perform such ©
work for Client on the terms hereinafter set forth;

NOW, THEREFORE, in consideration of the mutual covenants contained herein and other good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, it is
understood and agreed as follows:

1; Services.

(a) Client agrees to engage Contractor to perform the services described in the Scope of Work
attached hereto and made a part hereof as Exhibit A, as of the Effective Date for the period set
forth in Section 1(d) below, unless the engagement is terminated sooner as provided herein.

(b) In the performance of the work, duties and obligations devolving upon the Contractor
pursuant to the terms of this Agreement, the Contractor shall at all times be acting and performing
as an Contractor. No relationship of employer and employee, or partners, or joint venturers, or
agent and principal is created by this Agreement. No party, or any employees, agents or
representatives of the Contractor may make any claims against Client for Social Security benefits,
workers’ compensation benefits, unemployment insurance benefits, vacation pay, sick leave, or
any other employee benefit of any kind.

(c) The Contractor accepts this engagement and agrees to devote sufficient time and resources
to the performance of its duties as described in Exhibit A attached hereto,

(d) Subject to the provisions of Section 10 hereof, Contractor shall commence its duties as of
the Effective Date, and, except as provided herein, shall continue to be engaged by Client for the
duration of the Project (the “Term of Engagement”), which may be extended upon the mutual
consent of each Party.

  

EXHIBIT Exhibit 3

     

 
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2. Business Practices. In connection with the performance of its work hereunder, Contractor
agrees as follows:

(a) In discharging its authority and responsibility hereunder, and in performance of all services
hereunder, Contractor represents and warrants that it will comply (and cause all subcontractors to
comply) with all applicable state, municipal and federal laws, ordinances, rules and regulations
governing its activities and those of Client as the same may be amended or be the subject of court
interpretation from time to time, including, without limitation, that Contractor, in performing its
obligations under this Agreement, shall establish and maintain in effect appropriate business
standards, procedures and controls: (i) to avoid any real or apparent impropriety that might affect
adversely or conflict with the interests of Client or any of its affiliates: and (ii) to assure that no
unethical or illegal activity shall be engaged in that would constitute a prohibited payment, bribe,
kickback or other payment or activity prohibited by law.

(b) Contractor may advise customers of Contractor’s affiliation with Client, but will not
represent that Contractor is an employee of Client. Contractor will conduct all activities with the
same professional standards of conduct generally observed by Client, and take no action that will
compromise the integrity and reputation of Client with its customers or vendors.

(c) The nature of the Services is such that Contractor will render them from the location of
Client’s customers, which may be a residence or a commercial establishment. Contractor will at
all times comply with the applicable rules, policies and procedures that the Client establishes for
performance of the Services,

3. Compensation. Client shall pay to the Contractor the following amounts, subject to the
terms and conditions set forth in this Agreement, including, without limitation, the
provisions of Sections 2 and 10 hereof:

Contractor shall be paid as set forth on Exhibit B attached hereto and made a part

 

hereof,

4, - Contractor Expenses. Except as otherwise set forth in Exhibit B

Contractor shall be responsible for all expenses incurred by it in the performance of the services
rendered pursuant to this Agreement.

5. Payment to Contractor, All payments made by Client pursuant to this

Agreement shall be payable to Contractor solely at the address or to such account as specified in
the Notice provision found in Section 10 below or other written documentation expressly
acknowledged by Client,

6, Termination,

 

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(a) This Agreement and Client’s obligations hereunder shall terminate as of the conclusion of
the Term of Engagement, unless terminated earlier pursuant to this Section 6.

(b) Client may terminate this Agreement and the Contractor’s rights hereunder at any time
With or without cause at any time.

7: Confidential Information.

(a) _Alll information transmitted verbally or in documents, materials, records, files, projections
and other information whether written or verbal, provided to the Contractor by Client shall be
deemed “Confidential Information”, The Contractor agrees to cause its officers and members not
to disclose to any person not employed or engaged by Client to render services to Client, any
Confidential Information of Client learned by Contractor during the course of its engagement by
Client. This Section 7 shall not preclude the Contractor from the use or disclosure of information
known generally to the public or from disclosure required by law or court order. Contractor agrees
that it will not circumvent or compete with Client in connection with the work done by Client in
the geographic territories for the parties with whom Client is performing services.

(b) All written materials, records and documents made by the Contractor or in the possession
of Contractor during or after the term of this Agreement concerning the business or affairs of
Client, or other items or property held by or for the Contractor, but owned or used by Client, shall
be the sole property of Client, and, upon the expiration or termination of this Agreement or upon
the request of Client, the Contractor shall cause the prompt delivery of all such materials, records,
documents or other items or Property that are then in its possession or the possession of its
employees.

8. Reporting Requirements and Audits, Contractor shall provide Client access
to all written materials, documents, magnetic or other Storage media, records or files
pertaining to its work contemplated by this Agreement or any other materials concerning
the business or affairs of Client with respect to the services provided by Contractor
hereunder,

9, Notices. All notices, requests, demands and other communications provided for by this
Agreement shall be in writing and shall be deemed to have been duly given when delivered
in person or mailed by United States certified mail, return receipt required, postage prepaid,
addressed as follows:

If to the Contractor: Byron Taylor If to the Client:
——_~
Name 0 184i HD and Associates, LLC
Address 1107 Wright Ave
Phone Terrytown, LA 70056

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Telephone: . Telephone: 504-587-1790
Fax: Fax:
Email: Email:info@hdanda.net

or to such other address as any party may have furnished to the other in writing in accordance
herewith, except that notices of change of address shall be effective only upon receipt.

10. Non-Exclusive. Contractor acknowledges that this Agreement is a non-
exclusive contract for providing services to Client. Client retains the right to engage others to
perform the same type of services without any liability to Contractor.

 

11, Sub-Contractors. Services shall be performed solely by Contractor or by those
subcontractors that Client may allow by its prior written approval. No approval shall
relieve Contractor of any of its obligations under this Agreement.

 

12, Governing Law. The provisions of this Agreement shall be construed in accordance with
the laws of the State of Louisiana.

13. Additional Remedies. Each Party acknowledges that the other will have no adequate
remedy at law if there is a material violation of this Agreement, Accordingly, any non-
breaching Party shall have the right, to the extent permitted by applicable law, in addition
to any other rights or remedies it may have pursuant to the terms of this Agreement, at law
or otherwise, to obtain from any court of competent jurisdiction, injunctive relief to restrain
any breach or threatened breach hereof or otherwise to specifically enforce the provisions
hereof.

 

14. Waiver. No waiver by any Party of any obligation, right or remedy under this Agreement
shall be effective, unless such waiver is made in writing, specifying the terms of this
Agreement subject to waiver and executed by the Party against which such waiver is to be

enforced. A waiver of a Party’s rights or remedies hereunder on any occasion shall not be
a bar to the exercise of the same right or remedy on any subsequent occasion or of the
exercise of any other right or remedy at any time,

15. Integration and Amendments. This Agreement and the exhibits hereto constitute the entire
agreement and understanding between the Parties with respect to the subject matter hereof
and supersedes any prior agreement or understanding, whether written or oral, relating to
such subject matter, No modification or amendment to this Agreement shall be effective

or binding unless in writing, specifying such modification or amendment, executed by both
of the Parties.

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16. Headings and Severability. The headings contained in this Agreement are for reference
purposes only and shall not affect the construction or interpretation of this Agreement.
Should any section, provision or portion of this Agreement be declared invalid or
unenforceable, then such section, provision or portion shall be deemed to be (a) severable
from this Agreement and shall not affect the remainder hereof, and (b) amended to the
extent, and only to the extent, necessary to permit such section, provision or portion, as the

case may be, to be valid and enforceable.

17. Survival of Certain Provisions. The rights and obligations of the Parties under Section 7
(“Confidential Information”) hereof shall survive the expiration or termination of this

Agreement,

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THIS AGREEMENT may be executed in multiple counterparts, each of which shall be
deemed an original, as of the dates set forth below, but to be effective as of the date first written
above,

CONTRACTOR:

 

 
  

 

Printed Name: *
Date:
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EXHIBIT A

SCOPE OF WORK

Contractor shall provide the following services pursuant to this Agreement:

Contractor shall install cable services as needed for Cox Communications, Services wil] be
provided at a time pre-determined by Cox to be convenient for the home-owner as would be the
case for any such construction services provided to the homeowner. All Cox installation
standards are required to be followed at all times,

Installation and troubleshooting services are to be provided on an as needed basis. It is the
Contractor’s responsibility to be available to provide services under the contractual obligations
of the Cox Contract.

Periodically, meetings with the client will be required to ensure that standards are being met and
to dicuss any deviations from expected quality of work.

 
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EXHIBIT B

COMPENSATION

Contractor shall be paid the following compensation:

1, Wages. Contractor shall be paid not less than an hourly wage of $8.00 per hour for
up to forty (40) hours per week, and overtime pay equal to $12.00 per hour for each hour over forty
(40) hours worked in any one week payroll period, payable in weekly installments (the "Wages").

Zs Discretionary Performance Bonus. At the discretion of the Manager of HDA,

3: Discretionary Performance Chargebacks, At the discretion of the Manager of HDA,
Contractor shall be charged back any amounts charged to Client as a result of poor workmanship by
Contractor. This will result in a reduced amount of discretionary bonus based on performance and

workmanship. Wages will not drop below the standard set fourth in section 1 above after factoring in
Chargebacks,

 
